           Case 1:20-cr-00330-AJN Document 59 Filed 10/05/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                         NOTICE OF APPEARANCE

                  v.                                                    20 Cr. 330 (AJN)

GHISLAINE MAXWELL,
                                    Defendant.
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To the Clerk of Court and all parties of record:

        PLEASE TAKE NOTICE that the undersigned attorney admitted to practice in this Court

hereby appears as counsel for Defendant Ghislaine Maxwell in the above-captioned action.

Dated: October 3, 2020

                                                         /s/ Bobbi C. Sternheim

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